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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
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   11   JARED ANDREW MARTIN,                     Case No. 2:20-cv-09527-MWF-MAA
   12                       Petitioner,
               v.                                JUDGMENT
   13
   14   R. FISHER, JR.,
   15                       Respondent.
   16
   17         Pursuant to the Order Accepting Report and Recommendation of the United
   18   States Magistrate Judge,
   19         IT IS ORDERED AND ADJUDGED that the Petition is denied and the
   20   action is dismissed without prejudice.
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   22   DATED: October 15, 2021
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   24                                     ____________________________________
                                          MICHAEL W. FITZGERALD
   25                                     UNITED STATES DISTRICT JUDGE
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